           Case 6:22-bk-12178-RB Doc 7 Filed 06/10/22 Entered 06/10/22 21:13:18                                                                   Desc
                               Imaged Certificate of Notice Page 1 of 2
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 22-12178-RB
Judith F Green                                                                                                         Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-6                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jun 08, 2022                                               Form ID: deforco                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 10, 2022:
Recip ID                 Recipient Name and Address
db                     + Judith F Green, 72900 Skyward Way, Palm Desert, CA 92260-6035

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 10, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 8, 2022 at the address(es) listed below:
Name                               Email Address
Benjamin R Heston
                                   on behalf of Debtor Judith F Green docs@hestonlaw.com HestonBR41032@notify.bestcase.com,handhecf@gmail.com

United States Trustee (RS)
                                   ustpregion16.rs.ecf@usdoj.gov


TOTAL: 2
          Case 6:22-bk-12178-RB Doc 7 Filed 06/10/22 Entered 06/10/22 21:13:18                                                         Desc
                              Imaged Certificate of Notice Page 2 of 2
                                          United States Bankruptcy Court
                                           Central District of California
In re:                                                             CHAPTER NO.:   7
Judith F Green
                                                                   CASE NO.:   6:22−bk−12178−RB

                         ORDER TO COMPLY WITH BANKRUPTCY RULE 1007
                            AND NOTICE OF INTENT TO DISMISS CASE
To Debtor and Debtor's Attorney of Record,
YOU FAILED TO FILE THE FOLLOWING DOCUMENTS:
Schd A/B(Form106A/B or 206A/B)
Schedule C (Form 106C)
Schedule D (Form 106D or 206D)
Schd E/F(Form106E/F or 206E/F)
Summary(Form 106Sum or 206Sum)
Schedule G (Form 106G or 206G)
Statement (Form 122A−1)
Schedule H (Form 106H or 206H)
Schedule I (Form 106I)
Schedule J (Form 106J)
Decl Re Sched (Form 106Dec)
StmtFinAffairs(Form107 or 207)


The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms

According to Bankruptcy Rule 1007(c), within 14 days after you filed the petition, YOU MUST EITHER:

(1)      File the required documents. If the document is filed electronically, no hard copy needs to be submitted to the court.
         (See Local Bankruptcy Rule 5005−2(d) and Court Manual, Appendix "F" as to whether a copy must be served on the
         judge.)
OR
(2)      File and serve a motion for an order extending the time to file the required document(s). If you make such a motion
         and it is denied after the 14 days have expired, your case will be dismissed.

IF YOU DO NOT COMPLY in a timely manner with either of the above alternatives, the court WILL DISMISS YOUR CASE
WITHOUT FURTHER NOTICE.




Dated: June 8, 2022                                                            For the Court
                                                                               Kathleen J. Campbell
                                                                               Clerk of Court




(Form deforco − Rev 04/2019)                                                                                                      1/
